        CASE 0:22-cv-01674-PJS-ECW Doc. 12 Filed 07/05/22 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


Brittany S. Alowonle,                        )
                                             )
              Plaintiff,                     )
                                             )
       v.                                    )         Case No. 0:22-cv-01674
                                             )
Equifax Information Services LLC;            )
Experian Information Solutions, Inc.;        )
Trans Union LLC; Comenity Bank;              )
Comenity Capital Bank; Nelnet Bank;          )
and Phoenix Financial Services, LLC,         )
                                             )
              Defendants.                    )

 COMENITY BANK AND COMENITY CAPITAL BANK’S AGREED MOTION
 FOR EXTENSION OF TIME TO RESPOND TO PLAINTIFF’S COMPLAINT

       Defendants Comenity Bank and Comenity Capital Bank (collectively

“Comenity”), by counsel, request that the Court extend the time they have to respond to

Plaintiff’s Complaint up to and including August 2, 2022. In support of this motion,

Comenity states:

       1.     On June 28, 2022, Experian Information Solutions, Inc. removed this case

from Minnesota District Court for the Fourth Judicial District to this Court. (ECF No. 1.)

       2.     Pursuant to Federal Rule of Civil Procedure 81(c), Comenity’s response to

Plaintiff’s Complaint is currently due July 5, 2022.

       3.     Comenity’s counsel needs additional time to review and investigate

Plaintiff’s allegations and to prepare an appropriate response. Comenity is also engaged

in discussions with Plaintiff’s counsel regarding the merits of the claims that could
        CASE 0:22-cv-01674-PJS-ECW Doc. 12 Filed 07/05/22 Page 2 of 2




resolve the claims against Comenity. Accordingly, Comenity respectfully requests that

the Court extend its deadline to file a responsive pleading.

       4.     This motion is filed in good faith and not for any improper purpose.

Extending Comenity’s deadline to file a response to the Complaint will not prejudice any

party nor delay this proceeding any further than necessary. This is Comenity’s first

request for an extension of time to respond to the Complaint.

       5.     Counsel for Comenity has conferred with Plaintiff’s counsel regarding this

the extension, and Plaintiff has no objection to the request. (See Comenity’s Meet and

Confer Statement.)

       WHEREFORE, Defendants Comenity Bank and Comenity Capital Bank

respectfully requests that the Court extend the time they have to respond to Plaintiff’s

Complaint to and including August 2, 2022.



Dated: July 5, 2022                                      RUBRIC LEGAL LLC

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                                                         Capital Bank




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